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                           UNITED STATES DISTRICT COURT
                                DISTRICT OF MAINE

UNITED STATES OF AMERICA                    )
                                            )
       v                                    )       Criminal No. 2:21-cr-00038-JDL
                                            )
NICHOLAS MITCHELL                           )


                     GOVERNMENT’S VERSION OF THE OFFENSE

       Had the case proceeded to trial, the Government would produce evidence that would

establish beyond a reasonable doubt that on October 5, 2020, this defendant knowingly tampered

with pizza dough by placing razor blades into the dough that was sold to consumers at a Saco

supermarket.

       The evidence would include electronic surveillance footage from the supermarket,

eyewitness testimony, and photographs of the dough and the razor blades.

       The evidence would establish the following facts:

       Defendant was an employee of a Maine company that manufactured pizza doughs that

were sold to consumers through a supermarket chain in Maine and other states. In approximately

June 2020, the Defendant’s employment was terminated.

       On October 5, 2020, Defendant entered the Saco store of the supermarket chain. He

proceeded directly to the refrigerator case where the pizza doughs were located. Defendant

proceeded to handle a number of the pizza doughs and remained in the vicinity of the refrigerator

case for approximately seven minutes. Defendant then exited the store without stopping at any

other section nor did Defendant make a purchase at the store. Defendant was in the store for

approximately nine minutes.




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       Three patrons purchased pizza doughs within a couple of hours of the Defendant’s

activity at the refrigerator case. When the patrons subsequently opened the pizza dough, they

discovered razor blades secreted inside the pizza dough.

       When the store learned of the tainted product, store personnel removed the remaining

pizza doughs from the refrigerator case. During this process, a store employee discovered

another dough with a razor blade in it.

       Store loss prevention personnel reviewed the surveillance footage that captured the

activity at the refrigerator case, and they observed that the only person who handled numerous

doughs or remained in the vicinity of the refrigerator case for an extended time on October 5,

2020 was the Defendant.

Dated May 24, 2021                           Donald E. Clark
                                             Acting United States Attorney


                                             /s/Daniel J. Perry
                                             Daniel J. Perry
                                             Assistant United States Attorney
                                             United States Attorney’s Office
                                             100 Middle Street, East Tower, 6th Floor
                                             Portland, ME 04101
                                             (207) 780-3257




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